Filed 06/02/17                                                                        Case 17-09005                                                                                   Doc 2
    FORM 1040 (12/15)

                       ADVERSARY PROCEEDING COVER SHEET                                                                    ADVERSARY PROCEEDING NUMBER
                                                                                                                           (Court Use Only)
                                               (Instructions on Reverse)

    PLAINTIFFS                                                                                    DEFENDANTS
   Jamelia Antoinette Robinson                                                                     Pacific Motors


    ATTORNEYS (Firm Name, Address, and Telephone No.)                                              ATTORNEYS (If Known)
   Stuart M. Price, SBN 150439
   L. Tegan Hurst, SBN 275830
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    PARTY (Check One Box Only)                                                                     PARTY (Check One Box Only)
    ✔ Debtor                              U.S. Trustee/Bankruptcy Admin                                   Debtor                  U.S. Trustee/Bankruptcy Admin
           Creditor                       Trustee             Other                                 ✔ Creditor                    Trustee                Other

    CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
   COMPLAINT FOR VIOLATION OF THE AUTOMATIC STAY UNDER 42. 11 U.S.C. § 362 AND FOR
   DAMAGES AND SANCTIONS

                                                                                  NATURE OF SUIT
                        (Number up to five (5) boxes starting with the lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)




            FRBP 7001(1) – Recovery of Money/Property                                                     FRBP 7001(6) – Dischargeability (continued)
      1     11 - Recovery of money/property - § 542 turnover of property                                  61 - Dischargeability - § 523(a)(5), domestic support
            12 - Recovery of money/property - § 547 preference                                            68 - Dischargeability - § 523(a)(6), willful and malicious injury
            13 - Recovery of money/property - § 548 fraudulent transfer                                   63 - Dischargeability - § 523(a)(8), student loan
            14 - Recovery of money/property - other                                                      64 - Dischargeability - § 523(a)(15), divorce or separation obligation
                                                                                                            
 (other than domestic support)

            FRBP 7001(2) – Validity, Priority or Extent of Lien                                           65 - Dischargeability - other
            21 - Validity, priority or extent of lien or other interest in property
                                                                                                          FRBP 7001(7) – Injunctive Relief
            FRBP 7001(3) – Approval of Sale of Property                                                   71 - Injunctive relief - imposition of stay
            31 - Approval of sale of property of estate and of a co-owner - § 363(h)                 2    72 - Injunctive relief - other
            FRBP 7001(4) – Objection/Revocation of Discharge                                              FRBP 7001(8) – Subordination of Claim or Interest
            41 - Objection/revocation of discharge - § 727(c), (d), (e)                                   81 - Subordination of claim or interest
            FRBP 7001(5) – Revocation of Confirmation                                                     FRBP 7001(9) – Declaratory Judgment
            51 - Revocation of confirmation                                                               91 - Declaratory judgment
            FRBP 7001(6) – Dischargeability                                                               FRBP 7001(10) – Determination of Removed Action
            66 - Dischargeability - § 523(a)(1), (14), (14A) priority tax claims                          01 - Determination of removed claim or cause
            62 - Dischargeability - § 523(a)(2), false pretenses, false representation,
                                                                                                          Other
                   actual fraud
                                                                                                          SS-SIPA Case - 15 U.S.C. §§ 78aaa et. seq.
            67 - Dischargeability - § 523(a)(4), fraud as fiduciary, embezzlement, larceny                02 - Other (e.g. other actions that would have been brought in state court if
                                          (continued next column)                                              unrelated to bankruptcy case)

              Check if this case involves a substantive issue of state law                                  Check if this is asserted to be a class action under FRCP 23

              Check if a jury trial is demanded in complaint                                        Demand $ ongoing damages

    Other Relief Sought
Filed 06/02/17                                             Case 17-09005                                                          Doc 2

    FORM 1040 (12/15), Page 2

                        BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
    NAME OF DEBTOR                                                                         BANKRUPTCY CASE NO.
     Jamelia Antoinette Robinson                                                            2017-90400

    DISTRICT IN WHICH CASE IS PENDING                      DIVISION OFFICE                 NAME OF JUDGE
    Eastern District of California                         Modesto                         Robert S. Bardwil

                                       RELATED ADVERSARY PROCEEDING (IF ANY)
    PLAINTIFF                                  DEFENDANT                                   ADVERSARY PROCEEDING NO.



    DISTRICT IN WHICH ADVERSARY IS PENDING                 DIVISION OFFICE                 NAME OF JUDGE



    SIGNATURE OF ATTORNEY (OR PLAINTIFF)




    DATE                                       PRINT NAME OF ATTORNEY (OR PLAINTIFF)
     6/1/2017                                  Stuart M. Price


                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
   the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction
   of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be lawsuits
   concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.

            A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding Cover
   Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding is filed
   electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF captures the
   information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic information on the
   adversary proceeding. The clerk of court needs the information to process the adversary proceeding and prepare required
   statistical reports on court activity.
            The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
   other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
   explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an attorney).
   A separate cover sheet must be submitted to the clerk for each complaint filed.

   Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

   Attorneys. Give the names and addresses of the attorneys, if known.

   Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

   Demand. Enter the dollar amount being demanded in the complaint.

   Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff
   is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an attorney,
   the plaintiff must sign.
